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                                   8                               UNITED STATES DISTRICT COURT
                                   9                           NORTHERN DISTRICT OF CALIFORNIA
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                                         NEXIS RENE GOMEZ,
                                  11                                                     Case No. 22-cv-05310 BLF (PR)
                                                      Plaintiff,
                                  12                                                     ORDER GRANTING MOTION FOR
Northern District of California




                                                v.                                       EXTENSION OF TIME TO FILE
 United States District Court




                                  13                                                     OPPOSITION
                                  14     V. GARCIA, et. al.,
                                  15                  Defendants.
                                                                                         (Docket No. 25)
                                  16

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                                  18         Plaintiff, a state prisoner, filed the instant pro se civil rights action pursuant to 42
                                  19   U.S.C. § 1983 against correctional officers at Correctional Training Facility-Soledad
                                  20   where he is currently incarcerated. The Court found the complaint stated cognizable
                                  21   claims and ordered the matter served on the Defendants. Dkt. No. 12. Defendants filed a
                                  22   motion for summary judgment on January 11, 2024. Dkt. No. 24.
                                  23         On February 1, 2024, Plaintiff filed a motion for a thirty-day extension of time to
                                  24   file an opposition due to limited library access. Dkt. No. 25. Good cause appearing,
                                  25   Plaintiff’s motion is GRANTED. Plaintiff’s opposition shall be filed no later than
                                  26   March 7, 2024.
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                                            Case 5:22-cv-05310-BLF Document 26 Filed 02/07/24 Page 2 of 2




                                   1             Defendants’ reply shall be filed no later than fourteen (14) days after Plaintiff’s
                                   2   opposition is filed.
                                   3             This order terminates Docket No. 25.
                                   4             IT IS SO ORDERED.
                                   5   Dated: __February 7, 2024______                         ________________________
                                                                                               BETH LABSON FREEMAN
                                   6
                                                                                               United States District Judge
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Northern District of California
 United States District Court




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                                       Order Granting Mot. for Ext. of Time to File Opp.
                                  27   PRO-SE\BLF\CR.22/5310Gomez_eot-opp

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